                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PATRICIA LOWRY, individually and on   )
 behalf of all others similarly situated,
                                       )
                                       )
                            Plaintiff, )
                                       )
 v.                                    )
                                       )
                                                    No.: 20-cv-01939
 RTI SURGICAL HOLDINGS, INC.,          )
                                                    Honorable Matthew F. Kennelly
 CAMILLE I. FARHAT, BRIAN K.           )
 HUTCHISON, JONATHON M. SINGER,        )
 ROBERT P. JORDHEIM, and JOHANNES )
 W. LOUW,                              )
                                       )
                          Defendants. )

              ALL DEFENDANTS’ MOTION FOR PAGE ENLARGEMENT

       All Defendants jointly move the Court for an Order granting RTI Surgical Holdings, Inc.

(“RTI”), Camille Farhat and Jonathon Singer (collectively the “RTI Defendants”) leave to file a

joint memorandum of law in support of their motion to dismiss (“Brief”) not to exceed 30 pages,

and in support state:

       1.      The 94-page Consolidated Amended Class Action Complaint (Dkt. 53) (“AC”)

alleges complex federal securities fraud claims spanning a four-year purported class period (“Class

Period”) against RTI and five of its current or former executives, each of whom served in a

leadership role at RTI for only part of the Class Period and whom seeks dismissal of this action.

       2.      The three RTI Defendants have joint legal representation, while Defendants Brian

Hutchison, Robert Jordheim and Johannes Louw each have their own counsel.

       3.      Pursuant to the Private Securities Litigation Reform Act, to state a claim for

securities fraud Plaintiff has a high pleading burden that requires, among other things, specific

facts about each statement challenged in the AC and how each Defendant was supposedly involved
in the fraud. To meet that burden, the AC must, among other things, plead with particularity:

which Defendant made each statement alleged to be false or misleading; specifics about the content

of the challenged statements as well as when and where they were made; the reasons why each

statement was misleading; and for each challenged statement, particular facts showing the

defendant to whom it is attributable, acted with a strong inference of scienter. See Pugh v. Tribune

Co., 521 F.3d 686, 693 (7th Cir. 2008). The Plaintiff challenges approximately 90 statements over

a four-year period, and the AC does not provide the necessary particular facts as to each Defendant

and challenged statement.

       4.      Because different statements are alleged as to different Defendants at different

times, each has unique arguments demonstrating why dismissal is warranted as a matter of law for

him or it. In support of their respective motions to dismiss, Defendants Johannes W. Louw, Robert

Jordheim and Brian Hutchison anticipate filing Briefs of 15 pages each to raise such individual-

specific defenses.

       5.      The RTI Defendants anticipate filing a joint Brief in support of their motion to

dismiss. In their Brief, the RTI Defendants intend to address not only individual-specific defenses

for RTI and Messrs. Farhat and Singer, but also other information and defenses that are applicable

to all six Defendants. The group-related topics that the RTI Defendants intend to include in their

Brief include: the underlying relevant facts, including context for the restatement that is a central

part of the AC, as well as dispositive arguments showing the AC’s failure to adequately plead

scienter, the confidential witnesses’ lack of reliability, Plaintiff’s failure to sufficiently allege a

“revenue smoothing” practice, and that many challenged statements are nonactionable opinions.

Defendants Louw, Jordheim and Hutchison will adopt RTI’s argument in their respective Briefs




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and then apply those legal principles to the differing time periods, allegations, challenged

statements, and factual circumstances unique to each Individual Defendant.

         6.     Pursuant to Local Rule 7.1, Briefs are limited to 15 pages absent leave of Court.

         7.     The Defendants have endeavored to avoid duplication and to consolidate arguments

where possible and will continue to refine their briefs to be as concise as possible. Nevertheless,

to adequately address the arguments unique to them, as well as those applicable to all six

Defendants, the RTI Defendants seek leave to file a 30-page Brief. Those 30 pages, combined

with the 15 pages each for the other three Defendants, would amount to a total of 75 pages of

briefing for all six Defendants.

         8.     As noted in RTI Defendants’ earlier-filed Motion for Leave to File Excess Pages

(Dkt. 55), Plaintiff objects to the relief requested in this Motion.

         WHEREFORE, Defendants respectfully request that the Court enter an Order granting

the RTI Defendants leave to file a Brief in support of their motion to dismiss not to exceed 30

pages.

 Dated: October 12, 2020                              Respectfully Submitted:


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2020, I electronically filed the foregoing document
using the ECF System for the United States District Court for the Northern District of Illinois.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all counsel
of record in this matter registered on the ECF system.


                                                      /s/ Martin G. Durkin
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